                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                      NO. 7:05-CR-97-19FL4



UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )               ORDER
                                             )
DEMETRIO GARCIA QUINTANA                     )




       This matter is before the court on the defendant’s motion to sequester witnesses and

motion for disclosure of exculpatory and mitigating information. The Government has

responded to the motions and these matters are ripe for ruling.

       1.      Motion to Sequester Witnesses

       The defendant seeks an order excluding all Government witnesses from the trial

proceedings prior to their testimony. The Government does not oppose the motion and requests

that it apply to both Government and defense witnesses and to their out-of-court communications

as well. The Government also states that it intends to have one case agent seated at counsel table

during the course of the trial.

       Rule 615 of the Federal Rules of Evidence authorizes the exclusion of witnesses “so that

they cannot hear the testimony of other witnesses.” Fed. R. Evid. 615. However, the court may

not exclude a party who is a natural person, an authorized representative of a party which is not a

natural person, and persons whose presence is either authorized by statute or essential to the

presentation of a party’s case. Id.

       For good cause shown and in the interest of justice, the court GRANTS the defendant’s

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motion to sequester witnesses and ORDERS that all prospective witnesses for the Government

and the defendant be excluded from the courtroom during trial so that they cannot hear the

testimony of other witnesses, provided, however, that one case agent for the United States be

excepted from this order and allowed to remain in the courtroom. The court further ORDERS

that all witnesses who have testified be prohibited from discussing this case and their testimony

with any prospective witnesses.

       2.      Motion for Disclosure of Exculpatory and Mitigating Information

               a.      Disclosure of all promises or inducements. The defendant first seeks

disclosure of all promises or inducements offered by the Government to any witness that the

Government intends to call at trial. In response, the Government states that some of the co-

defendants in this case have entered into plea agreements which have been filed with the court

and are available to counsel for the defendant. The Government further states that it will provide

a copy of any plea agreements or motions for departure within four days of trial.

       The court is satisfied that the defendant is entitled to the requested information as it

relates to any witness who may testify at trial and that the Government understands its discovery

obligations. As the Government has agreed to provide the requested information in advance of

trial, the court finds that the defendant’s motion is MOOT. In the event that the Government

fails to provide the requested information at least four days prior to trial, then the defendant may

seek any further relief that he deems appropriate.

               b.      Disclosure of all Rule 404(b) evidence. The defendant seeks production

of all evidence or information that fits within the definition of Rule 404(b), Fed. R. Evid. The

Government responds that it will provide notice to the defendant of its intent to offer any Rule


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404(b) evidence within one week of trial.

       Rule 404(b) of the Federal Rules of Evidence provides that, upon the request of the

accused in a criminal case, the prosecution “shall provide reasonable notice in advance of trial,

or during trial if the court excuses pretrial notice on good cause shown, of the general nature of

any [] evidence [pursuant to Fed. R. Evid. 404(b)] it intends to introduce at trial.” Although the

defendant’s request for such information is proper, and required, under Rule 404(b), the

Government has advised the court that it will provide such notice within one week of trial. The

court finds that this is reasonable. Accordingly, the defendant’s motion is GRANTED as it

relates to notice of all Rule 404(b) evidence, provided that the Government provide such notice

within one week of trial.

               c.      Disclosure of all non-law enforcement witnesses. The defendant seeks

disclosure of the full name, date of birth, and social security number of each non-law

enforcement witness who the Government intends to call as a witness at trial, and a copy of such

witness’s complete criminal history. The Government has not addressed this request specifically

in its response, but has acknowledged its obligation under Brady v. Maryland, 373 U.S. 83

(1963), and United States v. Giglio, 405 U.S. 150 (1972), to disclose any information that might

arguably be used to impeach or discredit a government witness at trial.

       The Fourth Circuit has interpreted Rule 16 of the Federal Rules of Criminal Procedure

governing discovery and inspection as placing the decision regarding pre-trial disclosure of

witness lists within the sound discretion of the trial court. United States v. Fletcher, 74 F.3d 49,

54 (4th Cir. 1996); United States v. Anderson, 481 F.2d 685, 693 (4th Cir.1973); United States v.

Jordan, 466 F.2d 99, 101 (4th Cir.1972), cert. denied, 409 U.S. 1129, 93 S.Ct. 947, 35 L.Ed.2d


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262 (1973). Exchanges of witness lists are not mandatory. Fletcher, 74 F.3d at 54.

       The defendant has failed to articulate a special showing of need to support his request for

the detailed and extensive information sought. Nonetheless, to the extent that the Government is

aware or becomes aware of any information pertaining to any witness it intends to call at trial

which must be disclosed pursuant to Brady and Giglio, the Government must disclose such

information within a reasonable time in advance of trial.

               d.      Disclosure of witness statements. The defendant further seeks disclosure

of all statements of any witnesses. Although the Government does not object to providing any

witness statements that would be subject to The Jencks Act, 18 U.S.C. § 3500, the Government

objects to providing such statements any earlier than one week prior to trial.

       The Jencks Act codified the Court’s decision in Jencks v. United States, 353 U.S. 657

(1957), that a criminal defendant has a right to examine for impeachment purposes any prior

statements made by government witnesses. See 18 U.S.C. § 3500. However, the defendant has

no right to inspect Jencks material until after the witness has testified on direct examination. 18

U.S.C. § 3500(b); United States v. Lewis, 35 F.3d 148, 151 (4th Cir. 1994). Accordingly, the

defendant’s motion is GRANTED to the extent that the Government must provide the requested

witness statements one week prior to trial.

               e.      Disclosure of internal affairs or other law enforcement agency files

indicating any disciplinary proceedings or reports pertaining to any treatment for psychological

or psychiatric disorder. The defendant seeks any internal affairs or other disciplinary files for

any law enforcement witness that might tend to impeach the credibility of the witness, and any

files that would indicate whether any witness offered by the Government has been treated for any


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psychological or psychiatric disorder. The Government has responded that it has produced any

exculpatory or impeaching materials that it is required to disclose under Brady. To the extent

that the defendant’s request seeks information outside the disclosures required by Brady, it is

denied. The Government shall comply with any ongoing discovery obligations as required by

the Federal Rules of Criminal Procedure and Brady.

       This the 22nd    day of February, 2006.




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                                             Christina L. Demory
                                             United States Magistrate Judge




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